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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

IN RE: RAIL FREIGHT FUEL SURCHARGE
ANTITRUST LITIGATION                              MDL Docket No. 1869
                                                  Misc. No. 07-0489 (BAH/GMH)
This document relates to: ALL CASES


OXBOW CARBON & MINERALS LLC, et al.,
                          Plaintiffs,
v.
                                                  Civil Action No. 11-1049 (BAH)
UNION PACIFIC RAILROAD CO., et al.,
                          Defendants.


IN RE: RAIL FREIGHT FUEL SURCHARGE                MDL Docket No. 2925
ANTITRUST LITIGATION (NO. II)                     Misc. No. 20-8 (BAH)


This document relates to: ALL CASES
                                                  PUBLICLY FILED VERSION

                                                  Oral Argument Requested




 DEFENDANTS’ MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO
   EXCLUDE FALSE POSITIVES ECONOMETRIC OVERCHARGE MODELS
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I.     Preliminary Statement

       Defendants move to exclude the econometric overcharge models of Plaintiffs’ experts,

Drs. B. Douglas Bernheim, E. Allen Jacobs, Jeffrey Leitzinger, James McClave, Leslie Marx,

and Alan S. Frankel submitted in the MDL II, MDL I, and Oxbow proceedings. Those models

produce legally disqualifying “false positives” because they cannot distinguish between effects

from conspiracy and effects from non-conspiratorial factors. Each of the experts’ models finds

damages on rail shipments that could not plausibly have been affected by the alleged conspiracy.

Consequently, as a matter of law, the Court should exclude them under Federal Rule of Evidence

702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). See In re Rail

Freight Fuel Surcharge Antitrust Litig., 725 F.3d 244, 252–54 (D.C. Cir. 2013) (rejecting model

that generated “false positives”).

       Plaintiffs’ economists each prepared econometric overcharge models to try to

demonstrate that the alleged conspiracy raised prices and caused antitrust injury to their clients

on shipments subject to allegedly standardized, rate-based fuel surcharges during the alleged

conspiracy period. They each maintain that their models show that shippers paid more for

freight transportation under contracts with rate-based fuel surcharges entered during the alleged

conspiracy period, July 2003 to December 2008, than they would have but for the alleged

conspiracy. And yet, taking the outputs at face value, the models find damages on a wide range

of shipments that could not plausibly have been affected by the alleged conspiracy.

       As a matter of law, if a model finds overcharges on purchases that could not plausibly be

affected for a given set of purchases (often called “false positives”), then the model’s estimated

“overcharges” cannot reasonably be attributed to the alleged conspiracy and must instead result

from other economic factors not appropriately captured by the model. See Concord Boat Corp.

v. Brunswick Corp., 207 F.3d 1039, 1056–57 (8th Cir. 2000) (damages model inadmissible


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because it “failed to account for market events that both sides agreed were not related to any

anticompetitive conduct” and “did not separate lawful from unlawful conduct”); MCI Commc’ns

Corp. v. AT&T Co., 708 F.2d 1081, 1161 (7th Cir. 1983) (“It is essential…that damages reflect

only the losses directly attributable to unlawful competition”); Coleman Motor Co. v. Chrysler

Corp., 525 F.2d 1338, 1353 (3d Cir. 1975) (vacating judgment where damages expert failed to

distinguish between “losses resulting from unlawful, as opposed to lawful, competition.”); see

also In re Aluminum Warehousing Antitrust Litig., 336 F.R.D. 5, 53 (S.D.N.Y. 2020) (quoting

Comcast Corp. v. Behrend, 569 U.S. 27, 37 (2013)) (model “suffers from a classic Comcast

infirmity, in that it impermissibly ‘identifies damages that are not the result [of the alleged]

wrong.’”).1 Here, Plaintiffs’ experts’ models generate overcharges on shipments under contracts

with terms set long before the alleged conspiracy and on shipments that were not subject to any

fuel surcharge at all. Both are false positives that render the models unreliable.

II.    Each Plaintiff Expert’s Modeling Generates Disqualifying False Positives.

       A.       Dr. B. Douglas Bernheim

       Dr. Bernheim’s models find antitrust damages for a wide range of shipments that could

not plausibly have been affected by the alleged conspiracy. Consequently, Dr. Bernheim’s

models do not reliably estimate the overcharges associated with the alleged conspiracy and are

inadmissible.




1
  While the Court in MDL I found that certain false positives in Plaintiffs’ expert’s damages
model made the model an unreliable means for proving class-wide injury, it nonetheless found
the model reliable enough for admissibility under Rule 702 and Daubert. See In re Rail Freight
Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d 14, 58–59, 131 (D.D.C. 2017) aff’d, 934 F.3d
619 (D.C. Cir. 2019). However, the MDL I Court’s Daubert decision, which is inconsistent with
case law, was made sua sponte, and, unlike here, made without the benefit of briefing from the
parties about that law.

                                                  2
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       To conduct his overcharge analyses in MDL II, Dr. Bernheim prepared a benchmark of

transactions that could not have been affected by the alleged conspiracy. For his benchmark, Dr.

Bernheim selected transactions that he concluded were “not associated with a collusive fuel

surcharge” because they were levied under contracts entered before the start of the alleged

conspiracy, and he called them “Pre-Existing Price Authorit[ies],” or PEPAs. DA21943 at 2083

(Bernheim/Marx MDL II Rpt. ¶¶ 239-240, 3/1/23) (emphasis added). In Dr. Bernheim’s words,

“the rates those shippers paid on the benchmark [or PEPA] transactions were not directly

contaminated by collusive fuel surcharges.” DA21943 at 2083 (Bernheim/Marx MDL II Rpt. ¶

241, 3/1/23) (emphasis added). Accordingly, shipments made under these pre-existing contracts

should not have been affected by the alleged conspiracy and there should not have been any

overcharges associated with these contracts. Yet, Dr. Bernheim’s model finds the same or higher

levels of overcharges                                      for these PEPA shipments as the

model finds for allegedly impacted shipments, an obvious false positive. DA25889 at 89-91

(Carlton MDL II Rpt. ¶¶ 143-146, Fig. 13, 8/15/23). The black line in the figure below illustrates

the overcharges his model finds on allegedly impacted               shipments, while the red

dotted line shows the overcharges his model generates on         shipments: They are nearly

identical—in fact the false positive overcharges on        shipments estimated by Dr.

Bernheim’s model slightly exceed his model’s overcharge estimates for the allegedly impacted

traffic. Id. This demonstrates that Dr. Bernheim’s model finds false positives and is not a

reliable method for estimating overcharges associated with the alleged conspiracy.2



2
 Similarly, Dr. Bernheim’s “corroborative” econometric overcharge model finds false positives.
DA21943 at 2090-91 (Bernheim/Marx MDL II Rpt. ¶¶ 263 - 266, 3/1/23). When applied to
shipments associated with                                     , Dr. Bernheim’s first
corroborative model produces overcharge estimates that are even larger than those Dr. Bernheim
estimated for his baseline model. See DA25889 at 93 (Carlton MDL II Rpt. ¶ 148, n. 217,

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       In addition, Dr. Bernheim’s MDL II model cannot distinguish between allegedly

conspiratorial and non-conspiratorial conduct as it generates overcharges on shipments that

occurred before the alleged conspiracy period. DA24600 at 04 (Murphy MDL II Rpt. ¶ 209,

8/15/23). The blue line in the graph below shows that Dr. Bernheim’s model finds an overcharge

on shipments made during most of the period from 2000 to early 2003, prior to the alleged

conspiracy period, with estimated overcharges of

                                     Id. (Ex. 87). These false positives also show that Dr.

Bernheim’s overcharge analysis does not reliably measure the effects of the alleged conspiracy.




8/15/23). This too shows that his corroborative analyses cannot distinguish between allegedly
conspiratorial and non-conspiratorial conduct.

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       Dr. Bernheim’s MDL I “over-recovery” analysis produces disqualifying false positives as

well. In MDL I, Dr. Bernheim claims that, during the alleged conspiracy, Defendants earned

more from fuel surcharges than their incremental fuel costs, what Dr. Bernheim calls “over-

recovery,” and he contends that this is a sign of antitrust injury. See DA21312 at 73-79

(Bernheim MDL I Rpt. ¶¶ 116-124, 9/15/20). Even accepting for present purposes that such

purported “over-recovery” is an economically sound indicator of antitrust harm (it is not), Dr.

Bernheim’s methodology shows similar “over-recovery” on shipments that the conspiracy could

not have affected.

       First, as shown in the table below, even for a typical shipper that agreed to a contract with

standard fuel surcharge terms before the start of the alleged conspiracy (i.e., a “legacy” shipper),

Dr. Bernheim’s methodology would find that the admittedly competitive fuel surcharges also

generated substantially more revenue under all four railroads’ legacy contracts (an average of



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      for all four Defendants) than their incremental fuel costs. DA25079 at 90 (Carlton MDL I

Rpt. ¶ 129, Tbl. 16, 4/15/21). Such “over-recovery” of incremental fuel costs from legacy

shipments is inconsistent with Dr. Bernheim’s position that “over-recovery” can only occur from

fuel surcharges that are the product of conspiracy. Id.; see also DA21312 at 73-79 (Bernheim

MDL I Rpt. ¶¶ 116-124, 9/15/20).




       Second, Dr. Bernheim’s MDL I methodology would find over-recovery if shipments

during the alleged conspiracy period were subject to the pre-conspiracy period (i.e., non-

conspiratorial) standard fuel surcharge formulas. DA25079 at 90-91 (Carlton MDL I Rpt. ¶ 130,

Tbl. 17, 4/15/21). As shown in the table below using Dr. Bernheim’s model, the admittedly

competitive, pre-conspiratorial formulas would have generated higher percentages of fuel cost

recovery          during the alleged conspiracy period than the percentages generated by the

formulas utilized during the alleged conspiracy period            Id. In short, Dr. Bernheim finds

substantial incremental fuel cost over-recovery on shipments that the alleged conspiracy could

not have reasonably affected.3 This too is a false positive finding.



3
  Dr. Israel applied the pre-conspiratorial FSC formulas to the actual base rate on each shipment
for the alleged conspiracy period and found that fuel recovery was “qualitatively the same”.

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       Lastly, as shown in the table below, Dr. Bernheim’s MDL I methodology would

estimate that the railroads “over-recovered” their incremental fuel costs by a larger

percentage in the pre-conspiracy period          than during the alleged conspiracy

                               Id. at 92 (Tbl. 18). This is yet another disqualifying false

positive that shows that Dr. Bernheim’s methodology cannot distinguish between allegedly

conspiratorial and non-conspiratorial factors affecting price. Id.




compared to the formulas used during the alleged conspiracy period. DA25894 at 95-96 (Israel
MDL I Report ¶ 300, 4/15/21).

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       B.      Dr. E. Allen Jacobs

       Dr. Jacobs’s MDL II overcharge regression model similarly generates multiple

disqualifying false positives.




DA22832 at 3013-20 (Jacobs MDL II Rpt. ¶¶ 467–481, 3/1/23). The reliability of Dr. Jacobs’s

methodology depends in part on whether it finds overcharges for shipments that are in his control

group—e.g., shipments that Dr. Jacobs treats as unaffected by the alleged conspiracy. However,

Dr. Jacobs’s model does in fact find overcharges                                             on

shipments in his control group, a result completely inconsistent with Plaintiffs’ allegations.

DA25097 at 135-37 (Carlton MDL II Rpt. ¶¶ 220-222, Tbl. 18, 8/15/23).




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       In addition, if Dr. Jacobs’s model was reliable, it should find no impact on prices when

tested exclusively using data from shipments occurring before March 2003, the earliest claimed

start date for the alleged conspiracy. Yet, it does. His model finds impact on shipments that

occurred under contract terms set before the alleged conspiracy even started, as shown by the

blue lines in the figure below. DA25148 at 199-202 (Israel MDL II Rpt. ¶¶ 386–390, Fig. 64,

8/15/23). These blue lines show the time periods in the pre-conspiracy period for which Dr.

Jacobs’s model would find damages on rail shipments, using data exclusively prior to the alleged

conspiracy (top panel) and using data through December 2003 (lower panel). Id. These false

positives illustrate that Dr. Jacobs’s model is unreliable, because it cannot isolate the effects of

the alleged conspiracy, as required for it to be admissible.




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       C.      Dr. Jeffrey Leitzinger

       Dr. Leitzinger’s MDL II model is also unreliable as a matter of law because it predicts

damages for shipments for which no damages should exist. Specifically, Dr. Leitzinger’s

MDL II model finds average fuel surcharge damages of 7.4% when applied to shipments made

during the alleged conspiracy period subject to contract terms set before the alleged conspiracy,

including admittedly competitive, pre-conspiratorial fuel surcharge formulas, the exact opposite




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result of what the model should have found if it could distinguish between independent and

coordinated conduct. DA25097 at 129-131 (Carlton MDL II Rpt. ¶¶ 201, Tbl. 14, 8/15/23).4




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       D.      Dr. James McClave

       Dr. McClave’s models (both MDL I and MDL II) produce the same types of disqualifying

“false positive” overcharges as the other experts. When his models are applied to Plaintiffs’

legacy shipments, which contained fuel surcharges that were set before the start of the alleged

conspiracy period, Dr. McClave’s non-intermodal model produces the same level of damages

(approximately a 10% carload overcharge) as the shipments that Plaintiffs claim were affected

by the alleged conspiracy, and his intermodal model produces greater overcharges (6.7 percent,

compared to 5.5 percent). DA25097 at 122-23 (Carlton MDL II Rpt. ¶¶ 168-170, 8/15/23);

DA25079 at 84-85 (Carlton MDL I Rpt. ¶¶ 88-90, 4/15/21).5


       E.      Dr. Leslie Marx

       Dr. Marx’s damages models in both MDL I and MDL II produce false positives. In MDL

II, Dr. Marx attempted to calculate overcharges, which she defined as the “difference between

what was actually paid and what would have been paid but for the alleged conspiracy.”

DA21943 at 51 (Bernheim/Marx MDL II Rpt. ¶ 21, 3/1/23). Accordingly, her damages model

should not find damages for a Plaintiff if that Plaintiff had actually paid the “competitive” but-

for prices determined by her methodology, meaning a price that she defines as not affected by

the alleged conspiracy.   But Dr. Marx’s methodology finds overcharges even where a shipper

paid the same price levels she claims would have been paid absent the alleged conspiracy.



4
  In MDL I, the application of pre-conspiracy standard formulas to observed base rates (in lieu of
the allegedly conspiratorial formulas) for Dr. Leitzinger’s plaintiffs finds overcharge percentages
that closely resemble those calculated by Dr. Leitzinger for the allegedly impacted shipments, a
false positives result that shows “damages” where none should exist. DA25898 at 899-900
(Carlton MDL I Rpt. ¶ 117, Tbl. 13, 4/15/21).
5
  Similarly, Prof. McClave’s econometric model in MDL I leads to false positive overcharges
that are similar to those found by Prof. McClave for allegedly damaged shipments. DA25079 at
84-85 (Carlton MDL I Rpt. ¶ 90, 4/15/21).

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DA24600 at 09-10 (Murphy MDL II Rpt. ¶¶ 219–221, Ex. 92, 8/15/23). The first column below

shows Dr. Marx’s estimated damages for MDL II Plaintiffs’ shipments with BNSF Railway

Company (“BNSF”).       The second column shows the damages Professor Marx’s methodology

calculates when it is run on her but-for prices that, by construction and according to her analysis,

are not affected by the alleged conspiracy. Her methodology would still find damages

                  shipments if Plaintiffs had paid prices she asserts were unaffected by the

alleged conspiracy.   Id. This is a clear “false positive” by construction.




       Dr. Marx’s MDL I fuel surcharge overcharge calculations are also unreliable, because her

methodology finds false positive “damages” even when applied to shipments under contracts

with terms that were set prior to the alleged conspiracy. DA25079 at 87-89 (Carlton MDL I Rpt.




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¶¶ 124-127, 4/15/21). Specifically, her methodology produces damages

             on legacy shipments for both Norfolk Southern Railway (“NS”) and CSX

Transportation (“CSXT”)—i.e., shipments under contract with terms set prior to the start of the

alleged conspiracy. Id. at 87-88 (Carlton MDL I Rpt. ¶ 125, Tbl. 14, 4/15/21).




       Professor Marx’s MDL I methodology also produces damages when the admittedly

competitive, pre-conspiratorial formulas are applied to the shipments that she analyzes. As

shown below, her MDL I damages model shows overcharges ranging from                       on

shipments subject to the pre-conspiratorial formulas. DA25079 at 89 (Carlton MDL I Rpt. ¶ 127,

Tbl. 15, 4/15/21).




       F.      Dr. Alan S. Frankel

       In the Oxbow case, 11-CV-01049, Defendants Union Pacific (“UP”) and BNSF move to

exclude the expert opinions offered by Dr. Alan S. Frankel regarding the amount of damages




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incurred by the Oxbow Plaintiffs (collectively, “Oxbow”), because his model also generates false

positives. Dr. Frankel’s model produces overcharges on



                                  DA24449 at 50-51 (Carlton Oxbow Rpt. ¶ 150 & n.202-203,

Fig. 24, 9/9/18). Shipments on price authorities entered into before July 2003 could not have

been impacted by the alleged conspiracy. Thus, Dr. Frankel’s model fails in the essential task of

reliably estimating rail rates in the absence of the alleged anticompetitive conduct.

III.   Individual Plaintiffs’ Experiences Illustrate the Unreliability of the Plaintiffs’
       Experts’ Analyses.

       It is not surprising that the expert models generate false positives. Plaintiffs continue to

offer models that cannot distinguish between fuel surcharges paid because of the alleged

conspiracy and those resulting from non-conspiratorial factors. They do not even attempt to

model damages or causation based on each Plaintiff shipper’s individualized experience. See

Defs.’ Avg. Damages Mem. Doing so would require Plaintiffs to confront the reality that

shippers’ individual experiences varied wildly and are inconsistent with Plaintiffs’ own theory of

harm—that the alleged conspiracy caused shippers to pay more surcharges that were more

aggressive than before the alleged conspiracy. Two examples of such shippers are described

below. Plaintiffs’ models cannot help a fact finder determine whether or to what extent these

shippers were harmed, and the fact that the models find false positive “damages” where none

could be simply reinforces this reality.

       A.      Honda

       Honda seeks more than                  in damages even though the supposedly

conspiratorial fuel surcharges                                                    DA25392 at 99

(Bernheim/Marx MDL II Rpt. Honda Appendix E, Fig. E-5, 3/1/23). Some of those damages



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are associated with traffic moving under



                      DA15789. This contract did not include a fuel surcharge provision. And,

Honda’s Scott Crail testified that Honda

                           DA15252 at 54-55 (Crail Tr. 65:2-66:5). But, without amending the

terms of the contract, Honda




                                  Yet Dr. Bernheim’s damages model, as adjusted by Dr. Marx,

finds damages on this BNSF contract. DA25392 (Bernheim/Marx MDL II Rpt. Honda App. D

and E, Figs. E-3 and E-5, 3/1/23); DA25335 at 50 (Marx 235:4-236:8); see also DA25625 at 44.




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       B.     Ford

       Ford seeks more than               in damages even though its experience with the

railroads does not fit Plaintiffs’ core allegations. DA25382 at 91 (Bernheim/Marx MDL II Rpt.

Ford Appendix E, Fig. E-5, 3/1/23). For example,




       During the alleged conspiracy period, Ford negotiated contracts with defendants that

had no fuel surcharge or a non-standard fuel surcharge.




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IV.    Conclusion

       The econometric overcharge models put forth by Plaintiffs’ experts each have the same

disqualifying false positives as the models put forth by Dr. Gordon Rausser in the

MDL I class action. See In re Rail Freight Fuel Surcharge Antitrust Litig., 725 F.3d 244, 252–54

(D.C. Cir. 2013). When applied to a wide range of shipments that could not reasonably have

been affected by the alleged conspiracy, they all find damages, producing false positives.

Accordingly, they are not reliable and are inadmissible at trial as a matter of law.




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Dated: July 17, 2024                         Respectfully submitted,


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